       Case 5:21-cv-00844-XR             Document 1156     Filed 09/10/24       Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
                                                 §
         Plaintiffs,                             §
                                                 §         Civil Action No. 5:21-cv-844-XR
            v.                                   §                   [Lead Case]
                                                 §
 GREGORY W. ABBOTT, et al.,                      §
                                                 §
         Defendants.
                                                 §

                  PLAINTIFFS’ UNOPPOSED MOTION TO WITHDRAW
                         JERRY VATTAMALA AS COUNSEL

        Pursuant to Local Court Rule AT-3, Plaintiffs OCA-Greater Houston, League of Women

Voters of Texas, and REVUP-Texas (collectively, “Plaintiffs”) file this unopposed motion to

withdraw Jerry Vattamala as counsel in this matter.

        Mr. Vattamala will be leaving the Asian American Legal Defense and Education Fund as

of September 5, 2024 and will no longer be representing Plaintiffs. Plaintiffs will continue to be

represented by remaining counsel listed below. This withdrawal will not delay any proceedings.

The motion is unopposed.

        For the reasons stated above, Plaintiffs respectfully request that this Court grant this

unopposed motion to withdraw Jerry Vattamala as counsel and remove Mr. Vattamala from further

electronic notifications in this case.

Dated: September 10, 2024                             Respectfully submitted,


                                                      By: /s/ Zachary Dolling
                                                      Zachary Dolling
                                                      Veronikah Rhea Warms
                                                      Sarah Xiyi Chen
                                                      TEXAS CIVIL RIGHTS PROJECT
                                                      1405 Montopolis Drive
                                                      Austin, TX 78741
Case 5:21-cv-00844-XR   Document 1156   Filed 09/10/24     Page 2 of 4




                                   512-474-5073 (Telephone)
                                   512-474-0726 (Facsimile)
                                   zachary@texascivilrightsproject.org
                                   veronikah@texascivilrightsproject.org
                                   schen@texascivilrightsproject.org

                                   Patrick Stegemoeller
                                   Susana Lorenzo-Giguere
                                   ASIAN AMERICAN LEGAL DEFENSE
                                   AND EDUCATION FUND
                                   99 Hudson Street, 12th Floor
                                   New York, NY 10013
                                   (212) 966-5932
                                   pstegemoeller@aaldef.org
                                   slorenzo-giguere@aaldef.org

                                   Adriana Cecilia Pinon
                                   Ashley Alcantara Harris
                                   Edgar Saldivar
                                   Savannah Kumar
                                   Thomas Paul Buser-Clancy
                                   ACLU FOUNDATION OF TEXAS
                                   P.O. Box 8306
                                   Houston, TX 77288
                                   (713) 942-8146
                                   apinon@aclutx.org
                                   esaldivar@aclutx.org
                                   aharris@aclutx.org
                                   skumar@aclutx.org
                                   tbuser-clancy@aclutx.org

                                   Adriel Cepeda-Derieux
                                   Ari Savitzky
                                   Dayton Campbell-Harris
                                   Elissa Gershon
                                   Sophia Lin Lakin
                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION
                                   125 Broadway Street, 18th Floor
                                   New York, NY 10004
                                   (212) 284-7334
                                   acepedaderieux@aclu.org
                                   asavitzky@aclu.org
                                   dcampbell-harris@aclu.org
                                   elissa.g@consultant.aclu.org
                                   slakin@aclu.org


                               2
Case 5:21-cv-00844-XR   Document 1156   Filed 09/10/24    Page 3 of 4




                                   Brian Dimmick
                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION
                                   915 15th St NW
                                   Washington, DC 20005
                                   (202) 731-2395
                                   bdimmick@aclu.org

                                   Susan Mizner
                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION
                                   39 Drumm Street
                                   San Francisco, CA 94111
                                   (415) 343-0781
                                   smizner@aclu.org

                                   Christopher McGreal
                                   Lucia Romano
                                   Peter Hofer
                                   DISABILITY RIGHTS TEXAS
                                   1500 McGowen Ste 100
                                   Houston, TX 77004
                                   (713) 974-7691
                                   cmcgreal@drtx.org
                                   lromano@drtx.org
                                   phofer@disabilityrightstx.org

                                   Jessica Ring Amunson
                                   JENNER & BLOCK LLP
                                   1099 New York Avenue, #900
                                   Washington, DC 20001
                                   (202) 639-6000
                                   jamunson@jenner.com

                                   Gregory D. Washington
                                   JENNER & BLOCK LLP
                                   455 Market Street, Suite 2100
                                   San Francisco, CA 94105-2453
                                   (415) 293-5937
                                   GWashington@jenner.com

                                   Counsel for Plaintiffs OCA-Greater
                                   Houston, League of Women Voters of Texas,
                                   and REVUP-Texas




                               3
       Case 5:21-cv-00844-XR         Document 1156        Filed 09/10/24      Page 4 of 4




                             CERTIFICATE OF CONFERENCE

       I certify that on September 4, 2024 I conferred via e-mail with counsel for all parties

regarding the contents of this motion, and none are opposed to this Motion.

                                                           /s/ Zachary Dolling
                                                           Zachary Dolling




                                CERTIFICATE OF SERVICE

       By my signature below, I certify that a true and correct copy of the foregoing has been

served on all counsel of record on September 10, 2024, through the Electronic Case File System

of the Western District of Texas.

                                                           /s/ Zachary Dolling
                                                           Zachary Dolling




                                               4
